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                                                                            October 16, 2017

    VIA ECF

    The Honorable Jose L. Linares
    United States District Judge
    United States District Court
      for the District of New Jersey
    Martin Luther King, Jr. Federal Building and Courthouse
    50 Walnut Street                                                                                         ALBANY
    Newark New Jersey 07101                                                                                  AMSTERDAM

                                                                                                             ATLANTA

              Re:        Schwartz v. Avis Rent A Car Sys., LLC                                               AUSTIN

                         11 Civ. 4052 (JLL) (JAB)                                                            BERLIN”

                         Klein v. Budget Rent a Car Sys., Inc.                                               BOSTON

                         12 Civ. 7300 (JLL) (JAD)                                                            BRUSSELS”

                                                                                                             CHICAGO

    Dear Judge Linares:                                                                                      DALLAS

                                                                                                             DELAWARE

            We represent Defendants in these actions. We write to seek Your Honor’s approval
    of an arrangement to which the parties have agreed regarding the treatment of unclaimed                  FORT LAUDERDALE

    benefits from the Class Action Settlement in these matters (the “Settlement”). Class                     HOUSTON


    cocinsel takes no position on this request.
                                                                                                             LON DON *


            By way of background, on Jtine 21, 2016, Your Honor entered an Order granting
                                                                                                             MIAMI
    final approval of the Settlement (DE 192). The administration of the Settlement and the
                                                                                                             MILAN
    distribution of settlement benefits to the class members were delayed by the pendency of an
                                                                                                             NEW JERSEY
    appeal of that Order to the Third Circuit by an objector to the Settlement. That appeal was              NEW YORK
    eventually dismissed, and the claims administrator began distributing settlement benefits to             ORANGE COUNTY
    the class members on February 20, 2017.                                                                  ORLANDO

                                                                                                             PALM BEACH COUNTY

            A number of settlement checks to class menibers were either returned to the claims               PHILADELPHIA

    administrator as undeliverable or went uncashed past the stale date of the checks of May 18,             PHOENIX

    2017. The parties agreed to a protocol to address this issue, pursuant to which the claims               ROME”

    administrator continued to honor requests for check re-issues until August 18, 2017. The                 SACRAMENTO

    claims administrator then did a final rotind of check re-issues in late Augtist and early                SHANGHAI

    September 2017, with a stale date of October 9, 2017. By agreement of the parties, the                   SILICON VALLEY

    claims administrator intends to complete and wind down the settlement distribution process               TALLAHASSEE


    by the end of November 2017.                                                                             TAMPA

                                                                                                             TO KYO

                                                                                                             TYSONS CORNER
            Notwithstanding these efforts, $33,280.80 in undisbursed settlement funds remains
                                                                                                             WASHINGTON. D.C.
    in the claims administrator’s account. Defendants therefore respectfully request that Your
                                                                                                             WHITE PLAINS

                                                                                                             ZURICH

                                                                                                             ‘OPERATES AS WEENUERO

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    October 16. 2017
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    Honor approve the parties” agreement that these unpaid amounts may be refunded to
    Defendants.

           The parties thank the Court for its courtesies.

                                                             Respectfully submitted,

                                                            /s/ Fhili R. Se/linger

                                                             PHILIP R. SELLINGER

    cc: All Counsel of Record (via ECF)




                                         GREENBERG TR4URIG, LLP
